                                                                                                                                                   03 LU
                      Case 3:24-cr-00008-TES-CHW                       Document 23                Filed 03/01/24             Page 1 of 2            ●    * l-H

                                                                                                                                                    Wl>

               Case 3;24-mj-00005-Cn\A/                        Document 6 *SEALED*                  Filev^ ,2/29/24           Page 1 of 2               U-
                                                                                                                                                             UJ
                                                                                                                                                    ■STcn
                                                                                                                                                    CN
                                                                                                                                                    -  fX)
AO 442 (Rev. nil) .Ancsi Wiirrani                                                                                                                  xdJll
                                                                                                                                                    CCSs:
                                                                                                                                                    3-: iXi
                                          United States District Court                                                                                       ca:
                                                                                                                                                             cr.
                                                                                                                                                             Sil
                                                                          for ihc

                                                                 Middle Disli'ici ol'Gcorgia

                      United States of America
                                   w
                                                                                                     3:24-MJ-5-CHW
                            Diego Ibarra                                                 Case No.

                                                                                                      2420-0301-0621-J
                                                                                )                     FID# 11647466
                                                                                                      USM# 016449-511

                              Defendant


                                                               ARREST WARRANT

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United Stales magistrate Judge without unnecessary delay
(nnnie oj person to he arrested)       Diego Ibarra
who is accused of an offense or violation based on the              following document Hied with the court:

n     Indictment            □ Superseding Indictment                □ Information            □ Superseding Information               ^ Complaint
□     Probation Violation Petition             □ Supervised Release Violation Petition                 □ Violation Notice            □ Order of the Court


This offense is brieflv described as follows:

    Possession of Fraudulent Document




Date:          02/22/2024                                                                                      si C. Alston
                                                                                                        Issiiinii ojlicer's signature
                                                       1


                         Macon, GA                         \                                                    C. Alston
City and slate:
                                                                                                          I’rinicil name and title
                                                                                Cw
                                                                          o'i

                                                                          Return


          This warrant was recci\’cd on tiiate)       ^2l2m02A                       , and the person was arrested on idate)            J3 0}/zH
at (city and state!
                                            ^ /V
Dale:
                                                                                                       .yreying officer's signature


                                                                                                          Pi'inteil name and title
                   Case 3:24-cr-00008-TES-CHW                     Document 23                 Filed 03/01/24      Page 2 of 2

               Case 3:24-mj-00005-Chv\/                  Document 6 *SEALED*                     Filed U2/29/24     Page 2 of 2
 A0442 (Rev. II II) Arrest Wanani      2)




                      'I'his second page contains personal iclcnliners provided for hnv-cnforcement use only
                      and therefore should not be tiled in court with the executed warrant unless under seal.

                                                          (Notfor Public Disclosure)
 Name of dcfcndant/offcndcr;           DIEGO IBARRA

 Known aliases:

 Last known residence:

 Prior addresses to which detcndant/olTcnder may still have tics:

 Last known employment:
 Last known telephone numbers:
 Place of birth:

 Date of birth:

 Social Security number:
 Height:                                                                     Weight:
Sex:
                                                                            Race:
1 lair:
                                                                            Eyes:
Scars, tattoos, other distinguishing marks:



History o( violence, weapons, drug use:

Known family, friends, and other associates Inamc. rt'lalion. cukiress. phone iiuiiihi’r/'.


KBl number:

Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer dfappUcahlc.r



Date of last contact with pretrial services or probation officer nf appUcuNe.r
